              Case 1:18-mj-00406-TCB Document 1 Filed 08/22/18 Page 1 of 1 PageID# 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     United States District Couff                                  l i   •-
                                                                  for the                         '!::j '
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                                                      Eastern District of Virginia                                  2 2018           I


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                 United States of America
                                                                                                                y i. i .v.,' >■
                               V.

                                                                            Case No.
               SEITU SULAYMAN KOKAYI
                                                                                       18-MJ-406



                                                                                     UNDER S
                          Defendant(s)


                                                   CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of          August 2, 2018 -August 19, 2018         in the county of                Alexandria             in the

      Eastern          District of              Virginia         , the defendant(s) violated:

            Code Section                                                       Offense Description
18 use 2422(b)                                    Coercion and enticement of a juvenile to engage in uniawfui sexuai activity.




          This criminal complaint is based on these facts:
SEE ATTACHED AFFiDAVIT.




          Sf Continued on the attached sheet.


                                                                                                Complainant's signature

                                                                                         Special Agent Sean Clark, FBI
                                                                                                 Printed name and title

                                                                                                        ML
Sworn to before me and signed in my presence.
                                                                                       heresa Carroll Buchanan
                                                                                     United States Magistrate Judge
Date:
                                                                                                   Judge's signature

City and state:                         Alexandria, Virginia                   Hon. Theresa Carroll Buchanan, Magistrate Judge
                                                                                                 Printed name and title
